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 1                    The treatment center where the, quote, riot

 2       defendants, unquote, are being held who have been denied bond,

 3       he found reasonably sufficient to hold them.             Did not find that

 4       they were in such conditions as the other center, the

 5       correctional center was.        Actually, I have a case, another

 6       individual being held without bond as an accused rioter of

 7       January 6 who was transferred to Lewisburg.             And I had a

 8       hearing recently on that and he asked to be remitted back to

 9       the D.C. jail.       He said that the accommodation at the D.C. jail

10       for access to discovery, to review it, the laptops they were

11       given occasionally, that they could review, and that the other

12       care was not such that he felt it was better to be in

13       Lewisburg.    He said Lewisburg, the food was good compared to

14       the D.C. jail, but otherwise he wanted to be back here.               And he

15       asked me to transfer him back here so he could prepare for

16       trial.

17                    So it may be a position of uncomfortableness because

18       of the long retention in the cellblock, in the cells, I agree

19       with you, for 22 hours, 23 hours, that is terrible, confining,

20       and difficult for people.        But I think that's more inclined due

21       to the orders because of the COVID than it was because they

22       wanted to mistreat this particular class of people.

23                    I haven't seen anything that's shown that yet.            And I

24       think the Cole examination by Judge McFadden is fairly clear on

25       that.    And so I accept your argument that his due process
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 1       rights were violated and that should be another basis for his

 2       release.

 3                    MR. McBRIDE:   Thank you, Judge.

 4                    I just want to touch on his Sixth amendment rights,

 5       as well.    Ryan Nichols' ability to meaningfully participate in

 6       his defense has repeatedly been interrupted by the D.C. jail,

 7       but as of November 1st the offenses have been particularly

 8       egregious.    In our first -- in our underlying papers, which

 9       were submitted to the Court on November 1st, we first raised

10       the conditions of confinement as an issue.             Because the

11       conditions of confinement were raised as an issue, he was

12       retaliated against by the facility.

13                    The jail confiscated his discovery, took away his

14       ability to use a laptop immediately after learning that this

15       issue was raised.      Because of this, he was precluded from being

16       able to review videos, reports, and meaningfully participate in

17       his defense during the entire time that we were writing the

18       reply brief.     Multiple calls were made to the jail.           I said,

19       hey, listen, he's had his discovery the whole time, why are you

20       taking it now at this critical juncture?           Nothing was replied.

21                    Mr. Nichols is a part of a detail crew, which is a

22       position of honor there, meaning that he participates in

23       helping clean up and do various other tasks around the jail.

24       Five separate good conduct awards while he's been there.             None

25       of that matters for anything.         They took away his ability to
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 1       view his discovery.       Moreover, approximately ten days ago,

 2       after we began to confront the facility, the jail then removed

 3       his ability to access the law library altogether and prevented

 4       him from making normal legal calls with me.             We had a normal

 5       sort of rhythm, that we were making calls on a regular basis in

 6       order to help facilitate his defense, that was destroyed.

 7                   The jail also denied him the ability to present

 8       himself in court in a reasonable manner.            Judge, as he stands

 9       before you today, he has not taken a shower in five days.              That

10       is disgusting.       He has not been able to access his discovery in

11       almost two months.       He is being retaliated against for being a

12       whistleblower.       The conduct here is clearly retaliatory.         And

13       the cure here is not transferring him to another prison so that

14       the process can be repeated, the cure is release because his

15       rights have been violated.

16                   And recently, on December 7th, Congress issued a

17       report condemning the conditions of confinement in CTF.               And

18       amongst the issues in that -- there were many condemnations,

19       but that report corroborates Exhibit 24 and the underlying

20       papers, which is a letter from a few months ago, penned by Ryan

21       Nichols and another January 6th detainee, where they assert 77

22       violations that were happening on a regular basis.               When you

23       cross-reference what Congress and Marjorie Taylor Greene and

24       those members of Congress found in their report, with 77

25       violations, you have a litany of points of intersection.
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 1                   First off, he's been targeted because of his race,

 2       because of his religion.       There are multiple times on a daily

 3       basis and on a weekly basis where disparaging remarks are made

 4       about the color of his skin, disparaging remarks made about his

 5       faith.    He is routinely denied access to amenities that others

 6       are given, such as moot court training, medical care, haircuts,

 7       educational tablets, normal food, nutritious diet.               And he has

 8       not seen his family since January 18th of this year.                  Other

 9       inmates, other detainees in that facility are able to see their

10       family on video calls.      They took that from him for no reason.

11                   He stands before you today, having been denied the

12       right to cut his hair, trim his beard, and cut his fingernails

13       since January of 2020 [sic].          There he is, right there, and he

14       looks like Tom Hanks from Cast Away.           He looks like a homeless

15       person on the streets of New York City and he's in the care of

16       the United States government.         How is this acceptable?          And not

17       only that, he is double vaccinated.          He received -- he took the

18       vaccine for the specific purpose of being able to come before

19       you today and present himself in the way that makes sense.                    And

20       they took that from him simply because they can.              That is

21       wrong.

22                   He is also regularly forced to ingest political

23       philosophies that he disagrees with, such as critical race

24       theory on this matter.      And he's also being indoctrinated with

25       racist, anti-American, anti-white, anti-U.S. government
